
699 S.E.2d 642 (2010)
STATE of North Carolina
v.
Jyree Dominic NOEL.
No. 151P10.
Supreme Court of North Carolina.
June 16, 2010.
Richard E. Jester, for Jyree D. Noel.
E. Burke Haywood, Special Deputy Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 690 S.E.2d 10.

ORDER
Upon consideration of the petition filed on the 7th of April 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
